             Case 4:18-cv-06340-PJH Document 24 Filed 02/28/19 Page 1 of 3



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                               UNITED STATES DISTRICT COURT
10
11                           NORTHERN DISTRICT OF CALIFORNIA

12                                     OAKLAND DIVISION
13
14 GLENN MILLER,                        )            Case No. 4:18-cv-06340-PJH
                                        )
15                                      )            PLAINTIFF’S LETTER BRIEF ON FAIR
                          Plaintiff,
     v.                                 )            DEBT COLLECTION PRACTICES ACT
16                                      )            PRECEDENT
                                        )
17   MEZZETTI FINANCIAL SERVICES, INC., )
                                        )
18                        Defendant.    )
                                        )
19
           The plaintiff hereby submits to Chief District Judge Hamilton the attached Letter Brief.
20
21
           Date: February 28, 2019
22
                                                               _/S/ Sharon Djemal__________
23                                                              Sharon Djemal
                                                                Attorney for Glenn Miller
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          PLAINTIFF’S LETTER BRIEF ON FAIR DEBT COLLECTION PRACTICES ACT PRECEDENT
                  Glenn Miller v. Mezzetti Financial Services, Inc., Case No. 4:18-cv-06340-PJH
          Case 4:18-cv-06340-PJH Document 24 Filed 02/28/19 Page 2 of 3
Honorable Phyllis J. Hamilton
Miller v. Mezzetti Financial Services, Inc., Case No. 4:18-cv-06340-PJH
February 28, 2019
Page 1

February 28, 2018

VIA CM/ECF SYSTEM

Honorable Judge Phyllis J. Hamilton
Oakland Courthouse, Courtroom 3 - 3rd Floor
1301 Clay Street
Oakland, CA 94612

Re: Miller v. Mezzetti Financial Services, Inc., Case No. 4:18-cv-06340-PJH

Dear Judge Hamilton,

       The plaintiff respectfully submits this letter brief pursuant to your request for precedent
supporting plaintiff’s claim under the Fair Debt Collection Practices Act.

        Mezzetti Financial Services has retained, and refused to return, funds to Mr. Miller that it
knows have been excessively garnished. Though there is no California federal court precedent
directly on point, some other federal courts have found violations of the FDCPA for retaining
money wrongfully garnished or levied. See Arias v. Gutman, Mintz, Baker, & Sonnenfeldt LLP,
875 F.3d 128 (2d Cir. 2017); Polanco v. NCO Portfolio Mgmt., Inc., 132 F. Supp. 3d 567
(S.D.N.Y. 2015); Okyere v. Palisades Collection, LLC, 961 F. Supp. 2d 522 (S.D.N.Y. 2013).
         In Arias, the debt collector garnished funds exempt under federal law from the debtor’s
bank account and refused to release the money, relying on Bank of America’s representation that
only some of the funds were exempt. However, the debtor later informed the debt collector that
all of the money in his account was from SSRI, and therefore exempt, and mailed the collector a
completed exemption claim form along with his bank statements as proof. Arias 875 F.3d at
133. The debt collector claimed that the exemption was invalid because the debtor did not
provide bank statements starting from a zero balance and forced the debtor to prepare for and
attend a hearing before agreeing to release the money. Id. The court found that the debtors’
allegations that the collector “refused to release the restraint” after receiving proof from the
debtor that the funds were exempt with “no good faith basis for objecting… in order to abuse and
intimidate” him was sufficient to support a claim under FDCPA § 1692f. Arias at 138.
        In Polanco, the court found that a debt collector violated the FDCPA by refusing to
return debtor's funds garnished pursuant to a default judgment following a judge's orders
vacating that default judgment and requiring return of the funds. Polanco, 132 F.Supp.3d at 583.
Similarly, in Okyere, the defendant allegedly refused to return funds despite a judge’s orders
vacating the judgment. Okyere 961 F.Supp.2d at 531. In both of these cases, the debt collector
was acting lawfully at the time of the garnishment. Furthermore, in both cases the courts found
colorable claims under the FDCPA despite the fact that the money had been returned before the
lawsuit was filed. Polanco, 132 F.Supp.3d at 575; Okyere, 961 F.Supp.2d at 527.
HonorableCase
           Phyllis J. Hamilton
                4:18-cv-06340-PJH        Document 24 Filed 02/28/19 Page 3 of 3
Miller v. Mezzetti Financial Services, Inc., Case No. 4:18-cv-06340-PJH
February 28, 2019
Page 2

        Like the collectors in Arias, Polanco, and Okyere, Mezzetti Financial Services is aware
that the money it is retaining was wrongfully and excessively garnished. Jose Mezzetti, acting in
his capacity as CEO for Mezzetti Financial Services, received a spreadsheet from Carmen
Ehlers, CORT’s corporate payroll manager, which showed how much had been garnished from
Mr. Miller’s paycheck in excess of the law 1. In conversation with the East Bay Community Law
Center, Mr. Mezzetti admitted he had received this spreadsheet, and he recognized that the
money was excessively garnished. According to Mr. Mezzetti’s own calculations, Mr. Miller
was entitled to receive $1501.41 back, after deducting the Sheriff’s fees. However, Mr. Mezzetti
later changed his mind and refused to return the money.
        Permitting Mezzetti Financial Services to retain this money would sanction the collection
of amounts above that allowed by California’s garnishment statute. Without the protection of the
maximum earnings withholding amount calculated under California Code of Civil Procedure §
706.050, indigent employees will suffer considerable hardship. As the authors of § 706.050
explain, the law, as it was amended in 2015, improves “the ability of low-wage working families
to meet their basic needs by remedying two problems with current wage garnishment law: 1) The
disincentive for a worker facing a garnishment to earn more than the local minimum wage, and;
2) The unjustly high percentage of income taken from a worker's paycheck.” California Senate
Bill No. 501, California 2015-2016 Regular Session. Because the garnishment violated
California law, Mezzetti is not entitled to the funds and was obligated to return them upon
receiving proof that the funds were exempt. Accordingly, Mezzetti has violated the FDCPA by
retaining an amount not “permitted by law.” See 15 U.S.C. § 1692f(1).


Respectfully Submitted,


/s/ Sharon Djemal
Sharon Djemal
Attorney for Plaintiff Glenn Miller




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 This is the first time Mr. Miller has evidence that Mezzetti Financial Services was on notice of
the over-garnishment. However, many Sheriff offices send form WG-005, the judicial council
form with information about the debtor’s gross wages and the amount that will be garnished,
directly to the creditor as soon as the garnishment starts. Therefore, Mezzetti Financial Services
may have been on notice of the over-garnishment as early as April 2017, when the garnishment
began.
